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 1                                                         JUDGE MARTINEZ
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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                       )
                                                     )
10                            Plaintiff,             )     NO. CR05-391RSM
                                                     )
11                      v.                           )
                                                     )     ORDER CONTINUING TRIAL
12
                                                     )
13   IAN ELTON FUHR,                                 )
     JASON JOHN FUHR,                                )
14   ELIJAH VICTOR FUHR,                             )
     VICTOR EUGENE FUHR,                             )
15   VALENTINO GUY,                                  )
     CARLOS EDWARD FORD,                             )
16   HENRY ORLANDO CASTRO,                           )
     COREY ALLEN BROWN,                              )
17   ROY COLUMBUS GOLD III,                          )
     QUINTRAKEOUS CHERRY,                            )
18   ERIC O’NEAL SOLIER,                             )
     MICHAEL DEVON RAY STEWART,                      )
19   DEONDRA MCDUFFIE,                               )
     CARLOS MIGUEL WATSON,                           )
20   DAVID WATKINS,                                  )
     JASON LEE WARD,                                 )
21   JONAH TOPPS,                                    )
     JOHN PELLUM,                                    )
22   PIILUA ETI,                )
     MICHAEL R. COX,                        )
23   RAEBURN GENE GAMBLE,                    )
     JOHNNIE BROWN,                         )
24   LINDA M. RYE,                            )
     COLLEEN FLOCK,                         )
25   SCOTT BRICKNER, and                    )
     ANTHONY STEVEN RODGERS,                )
26                                          )
                      Defendants.           )
27   _______________________________________)
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     (.RJF/rjf)                                                                    U.S. COURTHOUSE
                                                                                    7TH & STEWART
                                                                              SEATTLE, WASHINGTON 98102
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 1
                                                       ORDER
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                  In consideration of the Government’s motion for continuance, filed with the
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     concurrence of all of the parties in this matter, and there being no opposition thereto, the
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     Court finds and rules as follows: This Court finds as facts those facts set forth in the
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     Government’s Motion for Continuance filed on behalf of all parties. Further, the Court finds
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     that given the nature and seriousness of the charges in this case, and the desire by defense
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     counsel and the defendants to obtain complete discovery, to have adequate time to review
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     and consider the voluminous evidence in this case, to conduct adequate investigation,
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     including submission of discovery requests to the Government, to consider defenses, and to
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     research issues relevant to this case, including trial and disposition, and considering the
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     ongoing efforts by the parties to resolve these cases through plea disposition, where mutually
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     desired, this Court finds that the failure to grant the requested continuance so that counsel
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     may adequately weigh issues related to resolution, and if necessary, prepare for trial, would
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     unreasonably deny the defendants effective assistance of counsel and, despite due diligence
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     by all parties, result in a miscarriage of justice. Further, the Court further finds that given the
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     volume and complexity of the evidence, the duration and extent of the alleged conspiracy,
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     the number of defendants, and the disparate issues as to each defendant, it is unreasonable to
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     expect either the Government or defense counsel to be prepared to go to trial within the time
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     allotted.
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                  The Court further finds, for the reasons set forth above, that the ends of justice served
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     by granting the requested continuance outweigh the best interest of the public and the
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     defendants in a speedy trial. For the foregoing reasons, the parties’ motion for a continuance
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     of trial is GRANTED. Trial is reset for April 24, 2006, with the understanding that a status
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     conference will be held in this case in April and that a new trial date is likely as to any
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     defendants who remain in the case as of that time. The new motion cut-off date is April 17,
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     2006. The time from the filing of this motion for continuance, through the new trial date,
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     is/are excluded under the Speedy Trial Act, Title 18, United States Code, Sections
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     (.RJF/rjf)                                                                                  U.S. COURTHOUSE
                                                                                                  7TH & STEWART
                                                                                            SEATTLE, WASHINGTON 98102
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 1   3161(h)(8)(A) and (B)(i)(ii) and (iv) as to each defendant.
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                  DATED this 18th day of January, 2006.

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                                                          A
                                                          RICARDO S. MARTINEZ
                                                          UNITED STATES DISTRICT JUDGE
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     CR05-391RSM - 3
     (.RJF/rjf)                                                                        U.S. COURTHOUSE
                                                                                        7TH & STEWART
                                                                                  SEATTLE, WASHINGTON 98102
